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                       United States District Court for the
                        Western District of Washington

                       700 Stewart Street, Suite 2310
                             Seattle, WA 98101
                              (206) 370-8400

ANDREW U. D. STRAW,                  )      Case No.: 2:20-cv-00294-JLR
Plaintiff,                           )
                                     )      Hon. James L. Robart
v.                                   )      Judge Presiding
                                     )      Hon.
AVVO, INC.,                          )      Magistrate Judge
Defendant.                           )      Jury Trial Demanded

 MOTION TO REOPEN AND FOR LEAVE TO AMEND COMPLAINT
               TO BREACH OF CONTRACT

I, plaintiff Andrew U. D. Straw, make the following MOTION to reopen
this matter and amend my COMPLAINT one time in the interest of
justice, supported by the attached AFFIDAVIT OF PROTEST and 6
exhibits:

     1. The attached AFFIDAVIT OF PROTEST provides reasons to allow

       me to request leave to reopen this matter to amend my

       COMPLAINT one time to make this about a breach of contract

       rather than a tort case, which it was originally.

     2. Given the Statute of Limitations in the State of Washington allow

       an action on a written contract for 6 years after its breach, it is in

       the interest of justice to allow me to simply amend here rather than

       file a new lawsuit since the subject matter is so close to the original.
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WHEREFORE, I move the Court to reopen this matter and allow me to
amend my complaint one time and make this about breach of the TOS of
Avvo, which required arbitration and Avvo avoided that arbitration by
not paying the JAMS arbitration fee, causing JAMS not to provide that
service. The dishonesty aspects provide equitable reasons to allow this as
well, and these are explained in the attached AFFIDAVIT. It is in the
interest of court efficiency that this be allowed here rather than going
through the process of filing a separate lawsuit.

I, plaintiff Andrew U. D. Straw, verify that to the best of my knowledge,
information, and belief, formed after an inquiry reasonable under the
circumstances and to the best of my knowledge, that the above
statements and factual representations are true and correct on penalty
of perjury. July 16, 2025
                 Respectfully submitted,


                 s/ ANDREW U. D. STRAW
                 9169 W State St # 690
                 Garden City, ID 83714
                 Telephone: (847) 807-5237
                 andrew@andrewstraw.com
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                     CERTIFICATE OF SERVICE

I, Andrew U. D. Straw, certify that I filed the above MOTION TO
REOPEN AND ALLOW ONE COMPLAINT AMENDMENT with
AFFIDAVIT OF PROTEST and 6 EXHIBITS with the Clerk of this Court
via CM/ECF on July 16, 2025, and this will be served to all counsel of
record through that CM/ECF system. It will be available to the public
via Pacer.gov.

Respectfully submitted,




s/ ANDREW U. D. STRAW, Pro Se
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